Case 2:05-cv-04182-SRD-JCW Document 850-3 Filed 08/03/06 Page 1 of 1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES CIVIL ACTION NO, 05-4182
CONSOLIDATED LITIGATION
SECTION “Kk”
MAGISTRATE (2)

PERTAINS TO: Levee (05-4181 and 05-6073)
MRGO (05-4181) JUDGE DUVAL
Responder (05-4181)
MAG, WILKINSON

ORDER
The above premises considered;
Ff IS ORDERED that the Motion for Summary Judgment of GOTECH, Inc. be set for

hearing on August 25, 2006.

New Orleans, Louisiana, this day of , 2006.

JUDGE, USDC EASTERN DISTRICT

SO RhewwdaD24 R6-039 Katrina (Cotech)F i ion fer Expediucd Hons
